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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :       Case No. 21-cr-537-JMC
                                            :
RYAN SAMSEL, et al.,                        :
                                            :
                      Defendants.           :

                                NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby submits notice that

Assistant United States Attorney Christopher Brunwin is entering his appearance on behalf of the

United States.

       Dated: November 14, 2022

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:       /s/Christopher Brunwin
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